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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


WILLIAM RICHARDS,                            :

                      Plaintiff,             :

               v.                            :       NO. 18-1810

WALLYPARK PENNSYLVANIA, LLC,                 :
et al.,
              Defendants.                    :

                                           NOTICE

       A telephone conference regarding the case status will be held on Tuesday, September 4,

2018 at 3:00 p.m. Counsel for Defendants is directed to initiate the call. Judge Heffley can be

reached at 267-299-7420.




                                                 /s/ Sharon A. Hall-Moore
                                                 Sharon A. Hall-Moore
                                                 Deputy Clerk
                                                 Magistrate Judge Marilyn Heffley


Date: August 30, 2018
